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                  EXHIBIT 3
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                      SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Agreement”) is made by and between NU
Group, LLC; Attitude Wellness, LLC; Highwire Farms, LLC; O.I. Holdings, LLC and Higher
Love Corporation, Inc; and Rocky North, LLC (“Plaintiffs”) and the City of Menominee (“City”)
(individually referred to as “Party” and collectively referred to as the “Parties”).

      WHEREAS, the City enacted a Marihuana Establishments Ordinance that limited the
number of marihuana retailer establishments (“License” or “Licenses”) in the City to two (2); and

       WHEREAS, the City received more applications than the number of available Licenses;
and

       WHEREAS, Plaintiffs applied for but did not receive Licenses; and

      WHEREAS, Plaintiffs commenced actions in the Menominee County Circuit Court (the
“Court”) as follows:

       NU Group, LLC v City of Menominee, Case No. 21-17045-CZ;

       Attitude Wellness, LLC v City of Menominee, Case No. 21-17036-CZ;

       Highwire Farms, LLC v City of Menominee, Menominee City Council; Judicial &
Legislative/Personnel & Labor Committee; Marihuana Rubric Scoring Committee; Former City
Manager, Tony Graff; Acting City Manager, Brett Botbyl; Former City Engineer & Public Works
Director, Tricia Alwin; Former Zoning Administrator, Derrick Schultz; City Clerk, Kathy Brofka;
Fire Chief, Mark Peterson; and City Atty/Legal Officer Mike Celello; Case No. 21-17053-CZ;

       O.I. Holdings, LLC and Higher Love Corporation, Inc v City of Menominee, Jean
Stegeman, Heather Nelson, Jacqueline Nutter, Steve Fifarek, William Plemel, Josh Jones, Dennis
Klitzke, Frank Pohlmann, Doug Robinson, Brett Botbyl, Tricia Alwin, and Mark Peterson; Case
No. 21-17083-CZ; and

         Rocky North, LLC dba Green Pharm U.P. v City of Menominee, Case No. 21-17109-CZ,
(all collectively referred to herein as the “Lawsuit”).

       WHEREAS, the Lawsuit was consolidated by the Court; and

      WHEREAS, First Property Holdings, LLC and The Fire Station, LLC subsequently
became Intervening Defendants in the Lawsuit; and

      WHEREAS, among other claims, Plaintiffs brought claims under the Michigan Open
Meetings Act (“OMA”) the Michigan Constitution, and the Michigan Regulation and Taxation of
Marihuana Act (“MRTMA”); and

       WHEREAS, Judge Barglind dismissed each Plaintiffs’ Lawsuit;

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       WHEREAS, Plaintiffs, O.I. Holdings, LLC and Higher Love Corporation, Inc filed an
Application for Leave to Appeal (the “Appeal”), which has been denied;

      WHEREAS, Plaintiffs may engage in further motion practice in the trial court, including
motions for reconsideration and Plaintiffs plan to appeal Judge Barglind’s dismissals to the
Michigan Court of Appeals, if necessary (“Future Appeals”);

       WHEREAS, the Plaintiffs and a majority of the Menominee City Council desire to resolve
the Lawsuit and any Future Appeals upon the following terms and conditions.

       NOW, THEREFORE, in consideration of the mutual agreements herein contained, and
the above recitals, the Parties hereto agree as follows:

        1.     Settlement Terms and Conditions. The Parties have agreed to the following terms
and conditions set forth herein, which are subject to consideration and either approval or denial by
a majority of the Menominee City Council. The compromise set forth herein, if adopted by the
City Council, shall be in full settlement and satisfaction of all claims and Future Appeals relating
to the Lawsuit that the Parties have or may have at the time this Agreement is fully executed.

           A. If the resolution approving this agreement is adopted by a majority of City Council
              (“Resolution”), the City agrees within 60 days from the date the Resolution is
              signed by a majority of the City Council, the City Council shall introduce for
              consideration by the City Council an amendment to the Marihuana Establishments
              Ordinance, Section XX.02(B) to completely uncap the number of Licenses
              available to operate recreational marihuana retail establishments in the City of
              Menominee.

           B. If the City Council adopts the amendment under Section 1 A, within 30 days of
              such enactment, and prior to accepting any other applications under such
              enactment, the City will award an additional six (6) Licenses to each of the
              Plaintiffs and to non-party Agri-Med as follows:

               NU Group, LLC located at 1231 9th Avenue
               Attitude Wellness, LLC d/b/a Lume located at 2812 10th Street
               Highwire Farms, LLC located at 1015 10th Street
               Higher Love Corporation, Inc located at 1400 8th Avenue
               Rocky North, LLC d/b/a Green Pharm U.P. located at 2121 10th Street
               Agri-Med, LLC located at 3109 and 3113 10th Street

           C. Plaintiffs and Agri-Med must each submit its respective amended application, and
              new application and annual license fee, in order to receive its respective License.
              If the City wants to create new application forms or fees, for these amended

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               applications, any new form or fee must be published on the City’s webpage within
               15 days of the enactment of the Amendment under Section 1 A; otherwise,
               Plaintiffs and Agri-Med may submit their amended applications on the prior form
               and pay the prior fee.. In any event, any party who elects to submit an amended
               application under this Section 1 C shall be relieved from the
               assertions/promises/plans and stated economic investments set forth in their
               original application packet.

           D. Only upon the enactment of the ordinance amendment in 1A and the issuance of
              the licenses in 1B will Plaintiffs waive the right to pursue any Future Appeals
              arising out of the Lawsuit and Plaintiffs’ obligation to perform under Paragraph 3
              and 4 become operative.

           E. First Property Holdings, LLC and/or The Fire Station, LLC may submit amended
              applications under 1 C, and if so, they shall be relieved from the
              assertions/promises/plans and stated economic investments set forth in their
              original application packet.

        2.     City Council’s Consideration. This Agreement shall be presented to the City
Council as soon as possible, but not later than fourteen (14) days of the date this Agreement is
fully executed by Plaintiffs.

         3.      Mutual Release. With the exception of the obligations set forth herein, the Parties
and each of their past, present, and future officers, directors, stakeholders, partners, attorneys,
agents, employees, members, managers, representatives, insurers, assigns, successors in interest,
elected officials, appointed officials, boards, departments, and agencies hereby irrevocably release,
forever acquit, and discharge each other and all persons acting by, through, under, or in concert
with them, and each of them from all known and unknown charges, complaints, claims, grievances,
liabilities, obligations, promises, agreements, controversies, damages, actions, causes of action,
suits, requests for restraining orders or injunction, requests for equitable relief, rights, demands,
costs, losses, debts, penalties, fees, expenses (including attorneys’ fees and costs actually
incurred), and other damages, of any nature whatsoever, known or unknown, which the parties
have, or might have had since the beginning of time through the date they execute this Agreement
against each other , whether or not apparent or yet to be discovered, or which may hereafter
develop, relating to the Lawsuit and Future Appeals.

       4.      Indemnification. The Plaintiffs shall defend and hold harmless the City from all
claims and expenses, including all actual losses, damages, and reasonable legal fees, brought
against the City of Menominee, including any representative of the City of Menominee, based on
the City’s 2021 adoption of the original marihuana licensing ordinance and/or its marihuana
licensing process.

In the event any claim shall arise for indemnification, the City shall promptly provide written
notice of such claim to the Plaintiffs. In connection with any claim giving rise to indemnity
hereunder resulting from or arising out of any action by a person or entity, the Plaintiffs, jointly

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and at their sole cost and expense, shall assume the defense of any such action with counsel
reasonably satisfactory to the City. The Plaintiffs shall not settle any action without the City’s prior
written consent (which consent shall not be unreasonably withheld or delayed).

The Parties acknowledge that the City’s legal expenses associated with defending the Lawsuit and
Appeal to date were paid under a reservation of rights from the City’s liability insurer. In the event
that the City’s liability insurer that paid for the legal expenses associated with defending the
Lawsuit and Appeal sues for and obtains a Declaratory Judgement that it is not responsible or
obligated to pay the City’s legal expenses to date, as a direct result of the City’s decision to enter
into this Settlement and Release Agreement, Plaintiffs shall agree to reimburse the City for up to,
but no more than, $175,000.00. The City shall not enter into any settlement resolving such an
action for Declaratory Judgement brought by the City’s liability insurer without Plaintiffs’ prior
written consent, which consent shall not be unreasonably withheld.

       5.       No Admission of Liability. It is understood and agreed that this Agreement is the
compromise of a doubtful and disputed claim. This Agreement is not, and shall not be construed
or described as, an admission of liability or wrongdoing by the City, the City Council and its
members, the Judicial & Legislative/Personnel & Labor Committee and its members, the
Marihuana Rubric Scoring Committee and its members, the individually named Defendants in the
Lawsuit or Appeal or any of the City’s past, present, and future officers, directors, stakeholders,
partners, attorneys, agents, employees, managers, representatives, attorneys, insurers, assigns,
elected officials, appointed officials, and successors in interest, the past and present members of
the Menominee City Council, the Judicial & Legislative/Personnel & Labor Committee, the
Marihuana Rubric Scoring Committee, with respect to Plaintiffs and their claims.

       6.      Costs. Except as provided in Section 5, above, the Parties shall each bear their own
costs and attorney fees incurred in connection with this Agreement, the Lawsuit, and Appeal.

       7.       Limitation on Disclosing Contents. It is further agreed that the terms and
conditions of this Agreement will not be disclosed or publicized to third parties by Plaintiffs prior
to the approval and execution of this Agreement by all Parties. However, the City and the City
Council must discuss and disclose the contents or material terms of this Agreement to the public
when considering this Agreement and potential amendments to the City’s marihuana ordinance,
and prior to, and the City shall not be prohibited from disclosing information in accordance with
the requirements of the Open Meetings Act, MCL 15.261 et seq., or the Michigan Freedom of
Information Act, MCL 15.321 et seq., or any other statutory requirements.

       8.      Headings. The headings of the sections/paragraphs of this Agreement are for the
convenience of reference only and are not to be considered a part of this Agreement and shall not
limit or otherwise affect any of the terms of this Agreement.

       9.       Extent of Agreement. It is the express intention of the Parties that this Agreement
be enforceable for all purposes under the law. As such, the provisions of this Agreement and all
covenants and agreements contained herein shall apply to and be binding upon the Parties and each
of their successors, heirs, representatives, and assigns. Likewise, the City warrants and represents

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to Plaintiffs that except as to the number of currently available Licenses, which is currently limited
to 2, but which shall be uncapped if the amendment described in Paragraphs 1(A) and 1(B) above
are approved by City Council, this Agreement is not prohibited by or inconsistent with provisions
or requirements of the City’s Marihuana Establishments Ordinance, Zoning Ordinance, or other
applicable ordinances, procedures, or regulations now in effect or hereafter adopted. The Parties
agree to cooperate in good faith to perform the Agreement.

      10.      Governing Law. This Agreement is made in the State of Michigan and shall be
construed in accordance with the internal laws thereof.

       11.      Signatures. The Parties agree that signatures on this Agreement may be delivered
by facsimile or scanned and emailed in lieu of an original signature, and the Parties agree to treat
facsimile signatures or a scanned copy of signatures as original signatures and agree to be bound
by this provision. The Parties further agree that this Agreement may be signed in counterparts.

      12.     Non-Assignment. This Agreement and the rights granted herein are not assignable
by any Party without the written consent of all other Parties.

       13.     Entire Agreement. This Agreement constitutes the entire agreement between the
Parties and supersedes all prior written or oral promises and representations. No alteration,
amendment, change, or addition to this Agreement shall be binding upon any party hereto unless
and until reduced in writing and signed by each of the Parties hereto.

      14.    Nonwaiver. Any nonenforcement of this Agreement does not and may not be
considered or construed as a waiver of any provision of the Agreement.

      15.      Authority to Execute. Each of the undersigned represents, warrants, and states that
they are fully authorized to execute this Settlement Agreement and Release and the terms and
conditions contained herein are binding.

        16.       Construction. This Agreement has been subject to negotiations and discussions
between the Parties and their counsel. It has been, and shall be construed to have been, drafted by
all Parties to it, so that any rule construing ambiguities against the drafter shall have no force and
effect.

       17.       Severability. In the event that one or more of the provisions contained in this
Agreement shall for any reason be held to be invalid, illegal, or unenforceable in any respect by a
court of competent jurisdiction, such invalidity, illegality, or unenforceability shall not affect any
other provisions of this Agreement unless the absence of the provision or provisions which are
invalid, illegal, or unenforceable shall substantially impair the value of the whole Agreement to
one, or more, Party hereto.

      18.      Jurisdiction. The parties agree that Menominee County Circuit Court Judge
Barglind retains jurisdiction to enforce the Agreement and decide disputes.

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The Parties have duly executed this Settlement Agreement and Release, which is effective on the
latest date written below.

APPROVED BY PLAINTIFFS:


 NU GROUP, LLC                                  ATTITUDE WELLNESS, LLC

 ________________________                       _________________________
 By                                             By
 Its                                            Its
 Date:                                          Date:


 ____________________________                   ________________________________
 Jacqueline Langwith (P79600)                   Kevin M. Blair (P76927)
 POLLICELLA, PLLC                               HONIGMAN LLP
 Attorneys for Plaintiff NU Group, LLC          Attorneys for Plaintiff Attitude Wellness, LLC
 jackie@pollicella.net                          kblair@honigman.com
 Date:                                          Date:

                                                O.I. HOLDINGS, LLC and HIGHER LOVE
 HIGHWIRE FARMS, LLC                            CORPORATION, INC

 __________________________                     __________________________
 By                                             By
 Its                                            Its
 Date:                                          Date:

 ______________________________                 _________________________________
 Tamaris L. M. Henagan (P81968)                 Joseph C. Jones (P79964)
 Attorney for Plaintiff Highwire Farms, LLC     JONES LAW, PLC
 (517) 759-3640                                 Attorneys for Plaintiffs O.I. Holdings LLC and
 Date:                                          Higher Love Corporation, Inc.
                                                joe@jones.law
                                                Date:



 ROCKY NORTH, LLC

 _________________________
 By
 Its
 Date:




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The Parties have duly executed this Settlement Agreement and Release, which is effective on the
latest date written below.

APPROVED BY PLAINTIFFS:


 NU GROUP, LLC                                  ATTITUDE WELLNESS, LLC

 ________________________                       _________________________
 By                                             By
 Its                                            Its
 Date:                                          Date:


 ____________________________                   ________________________________
 Jacqueline Langwith (P79600)                   Kevin M. Blair (P76927)
 POLLICELLA, PLLC                               HONIGMAN LLP
 Attorneys for Plaintiff NU Group, LLC          Attorneys for Plaintiff Attitude Wellness, LLC
 jackie@pollicella.net                          kblair@honigman.com
 Date:                                          Date:

                                                O.I. HOLDINGS, LLC and HIGHER LOVE
 HIGHWIRE FARMS, LLC                            CORPORATION, INC

 __________________________                     __________________________
 By                                             By Joni Moore
 Its                                            Its President
 Date:                                          Date: 5/25/2023


 ______________________________                 _________________________________
 Tamaris L. M. Henagan (P81968)                 Joseph C. Jones (P79964)
 Attorney for Plaintiff Highwire Farms, LLC     JONES LAW, PLC
 (517) 759-3640                                 Attorneys for Plaintiffs O.I. Holdings LLC and
 Date:                                          Higher Love Corporation, Inc.
                                                joe@jones.law
                                                Date: 5/25/2023



 ROCKY NORTH, LLC

 _________________________
 By
 Its
 Date:



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APPROVED ON BEHALF OF THE CITY AFTER APPROVAL
BY THE MENOMINEE CITY COUNCIL BY RESOLUTION:


                                        CITY OF MENOMINEE, a Michigan
                                        Municipal Corporation

 ________________________               _________________________
 Matthew W. Cross (P77526)              By:
 PLUNKETT COONEY                        Its: Authorized Representative
 Attorney for Defendants                Date:
 406 Bay Street, Suite 300
 Petoskey, MI 49770
 (231) 348-6430
 mcross@plunkettcooney.com
 Date:



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